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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 19-62623-CIV-GAYLES
  FENDI S.R.L.,

                         Plaintiff,

                 v.

  AKAUFENG, et al.,

                         Defendants.

                                                     /

             CONSENT FINAL JUDGMENT AND PERMANENT INJUNCTION
                         AS TO DEFENDANT NUMBER 55

         THIS CAUSE comes before the Court upon Plaintiff Fendi, S.r.l.’s (“Plaintiff”) Motion

  for Consent Final Judgment and Permanent Injunction as to Defendant Number 55 (“Defendant”)

  [ECF No. 41]. The Court has carefully reviewed the Motion and the record and is otherwise fully

  advised.

         Plaintiff and Defendant Xiao Fengfei (肖风飞) a/k/a xidress - Defendant Number 55

  (“Defendant”), stipulate and consent to the following:

         WHEREAS, Defendant adopted and began using trademarks in the United States that

  infringe and dilute the distinctive quality of Plaintiff’s various registered trademarks as identified

  in Paragraph 15 of Plaintiff’s Amended Complaint, [ECF No. 14], and on Schedule “B” annexed

  thereto (the “FENDI Marks”);

         WHEREAS, Defendant’s use of names and marks which incorporate one or more of the

  FENDI Marks is likely to cause confusion as to source or origin;

         WHEREAS, the parties desire to settle and have amicably resolved their dispute to their

  satisfaction; and
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         WHEREAS, based upon Plaintiff’s good faith prior use of the FENDI Marks, Plaintiff

  has superior and exclusive rights in and to the FENDI Marks in the United States and any

  confusingly similar names or marks;

         Accordingly, it is STIPULATED, ORDERED, AND ADJUDGED that Plaintiff’s

  Motion for Entry of Consent Final Judgment and Permanent Injunction as to Defendant [ECF

  No. 41] is GRANTED as follows:

         1.     Judgment is hereby entered in favor of Plaintiff and against Defendant.

         2.     Defendant and its respective officers, agents, servants, employees and attorneys,

  and all persons in active concert and participation with them are hereby permanently restrained

  and enjoined from intentionally and/or knowingly:

                a.     manufacturing or causing to be manufactured, importing, advertising, or
                       promoting, distributing, selling or offering to sell counterfeit and
                       infringing goods bearing and/or using the FENDI Marks;

                b.     using the FENDI Marks in connection with the sale of any unauthorized
                       goods;

                c.     using any logo, and/or layout which may be calculated to falsely advertise
                       the services or products of Defendant as being sponsored by, authorized
                       by, endorsed by, or in any way associated with Plaintiff;

                d.     falsely representing Defendant as being connected with Plaintiff, through
                       sponsorship or association;

                e.     engaging in any act which is likely to falsely cause members of the trade
                       and/or of the purchasing public to believe any goods or services of
                       Defendant, are in any way endorsed by, approved by, and/or associated
                       with Plaintiff;

                f.     using any reproduction, counterfeit, copy, or colorable imitation of the
                       FENDI Marks in connection with the publicity, promotion, sale, or
                       advertising of any goods sold by Defendant;

                g.     affixing, applying, annexing or using in connection with the sale of any
                       goods, a false description or representation, including words or other
                       symbols tending to falsely describe or represent Defendant’s goods as
                       being those of Plaintiff, or in any way endorsed by Plaintiff;


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                 h.      offering such goods in commerce; and from otherwise unfairly competing
                         with Plaintiff;

                 i.      secreting, destroying, altering, removing, or otherwise dealing with the
                         unauthorized products or any books or records which contain any
                         information relating to the importing, manufacturing, producing,
                         distributing, circulating, selling, marketing, offering for sale, advertising,
                         promoting, renting or displaying of all unauthorized products which
                         infringe the FENDI Marks; and

                 j.      effecting assignments or transfers, forming new entities or associations or
                         utilizing any other device for the purpose of circumventing or otherwise
                         avoiding the prohibitions set forth in subparagraphs (A) through (I).

           3.    Plaintiff shall have the right to seek sanctions for contempt, compensatory

  damages, injunctive relief, attorneys’ fees, costs, and such other relief deemed proper in the

  event of a violation or failure by Defendant to comply with any of the provisions hereof. The

  prevailing party in any such proceeding shall be entitled to recover its attorney’s fees and costs.

           4.    This Consent Final Judgment shall be conclusive for purposes of collateral

  estoppel regarding all issues that have been or could have been brought on the same operative

  facts.

           5.    Each party shall bear its own attorney’s fees and costs.

           6.    This Court will retain continuing jurisdiction over this cause to enforce the terms

  of this Consent Final Judgment.




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          7.     PayPal, Inc. (“PayPal”) shall (1) transfer the funds of Defendant restrained

  pursuant to the Order Granting Ex Parte Application for Entry of Temporary Restraining Order

  (the “Temporary Restraining Order”), dated October 25, 2019 [ECF No. 8], as directed by

  Plaintiff’s counsel; and (2) upon transfer of the funds to Plaintiff as required herein, PayPal shall

  remove any restraints that were placed on Defendant’s PayPal account pursuant to the

  Temporary Restraining Order; and (3) return Defendant’s account back to an unrestrained status

  in accordance with its operating procedures and contract for services with Defendant.

          DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of February,

  2020.



                                                _________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE




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